 4:12-cr-03057-JMG-CRZ   Doc # 99   Filed: 08/05/13   Page 1 of 1 - Page ID # 298




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                           4:12-CR-3057-1

vs.
                                                          ORDER
DIWANCHA SHONTALL BROWN,

                 Defendant.

       This matter is before the Court on correspondence from the defendant
(filing 98) that the Court has construed as a motion for copies and motion for
status. That motion will be granted. The defendant is hereby informed that
as of this date, no notice of appeal has been received by the Court in the
above-captioned case. The Clerk of the Court will be directed to send the
defendant a copy of the docket sheet.

      IT IS ORDERED:

      1.   The defendant's motion for copies and motion for status
           (filing 98) is granted.

      2.   The Clerk of the Court is directed to send the defendant a
           copy of the docket sheet as to defendant Diwancha Shontall
           Brown in the above-captioned case.

      Dated this 5th day of August, 2013.

                                            BY THE COURT:



                                            John M. Gerrard
                                            United States District Judge
